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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                            GAINESVILLE DIVISION

MARIA NISHIJIMA,                       )
                                       )       Civil Action No.
      Plaintiff,                       )
                                       )       2:24-cv-040-SCJ
WALMART INC., John Doe, Jane           )
Doe, and ABC Corp.                     )
                                       )
      Defendants.                      )

   MATTHEW J. HURST’S APPLICATION FOR LEAVE OF ABSENCE

      Comes now the undersigned, counsel of record for Walmart Inc., and

respectfully submit this application for leave of absence during the following dates:

      1) July 11, 2024;

      2) August 12, 2024;

      3) September 18, 2024 – September 19, 2024;

      4) September 23, 2024;

      5) October 17, 2024;

      6) November 11, 2024 – November 15, 2024;

      7) November 18, 2024;

      8) November 25, 2024 – November 27, 2024;

      9) November 29, 2024;

      10)    December 5, 2024 – December 6, 2024;
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      11)   December 9, 2024 – December 10, 2024;

      12)   December 18, 2024 – December 20, 2024;

      13)   December 23, 2024;

      14)   December 26, 2024 – December 27, 2024; and

      15)   January 1, 2025 – January 3, 2025.

      The undesigned respectfully request events such as hearings or trial not be

scheduled during the dates listed above.


      Respectfully submitted this 29 of May, 2024.

                                               WALDON ADELMAN CASTILLA
                                               MCNAMARA & PROUT

                                               /s/ Matthew J. Hurst
                                               Matthew J. Hurst
                                               Georgia Bar No. 480267
                                               Attorney for Walmart Inc.
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Suite 1040
Atlanta, Georgia 30339
(770) 953-1710
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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                            GAINESVILLE DIVISION

MARIA NISHIJIMA,                     )
                                     )       Civil Action No.
      Plaintiff,                     )
                                     )       2:24-cv-040-SCJ
WALMART INC., John Doe, Jane         )
Doe, and ABC Corp.                   )
                                     )
      Defendants.                    )

                         CERTIFICATE OF SERVICE

      I hereby certify that on this day, I electronically filed MATTHEW J. HURST’S

APPLICATION FOR LEAVE OF ABSENCE using the Court’s CM/ECF system which

will automatically send e-mail notification of such filing to the following

attorney(s) of record:

                          Stephen J. Valero, Esq.
                          Hung Q. (Alex) Nguyen, Esq.
                          Renee E. Taylor, Esq.
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                         [SIGNATURE ON NEXT PAGE]



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     This 29 day of May, 2024.

                                        WALDON ADELMAN CASTILLA
                                        MCNAMARA & PROUT

                                        /s/ Matthew J. Hurst
                                        Matthew J. Hurst
                                        Georgia Bar No. 480267
                                        Attorney for Walmart Inc.
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